          Case 1:04-cv-10981-PBS Document 19 Filed 01/04/05 Page 1 of 9




                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS



 In Re: NEURONTIN MARKETING AND                                 MDL Docket No. 1629
 SALES PRACTICES LITIGATION

                                                                Master File No. 04-10981
 THIS DOCUMENT RELATES TO:
                                                                Judge Patti B. Saris
 ALL ACTIONS



                PLAINTIFFS’ OPPOSITION TO DEFENDANT’S MOTION
                       FOR ENTRY OF PROTECTIVE ORDER

       Members of the Plaintiffs’ Class Steering Committee, Members of the Plaintiffs’ Non Class

Steering Committee and Plaintiffs’ Liaison Counsel (collectively, “Plaintiffs’ Representatives”)

oppose the Defendants’ motion to enter a protective order to the extent that the proposed order

contains provisions that this Court refused to enter in United States ex. rel. Franklin v. Parke-Davis,

a Division of Warner Lambert, No. 96-11651-PBS (D. Mass). The reasons in support of the

Plaintiffs’ Representatives’ opposition are set forth herein.

                                       Procedural Background

       Pursuant to the Court’s instruction at the initial conference in this matter, held on Tuesday

November 23, 2004, the Plaintiffs’ Representatives have conferred with counsel for Defendants in

an attempt to draft a protective order that will govern all parties’ production of discovery materials.

While Plaintiffs’ Representatives and counsel for Defendants were able to agree on most points, the

parties were unable to agree on two points, both of which were litigated before this Court in the

Franklin litigation. Accordingly, the parties agreed to submit a Proposed Protective Order which

contained the disputed provisions in brackets. This procedure allows the Court to identify easily the
             Case 1:04-cv-10981-PBS Document 19 Filed 01/04/05 Page 2 of 9




disputed provisions and to strike any language it decides to not insert in the final order. The parties

also agreed that Defendants would move for their version of the Protective Order, but the parties’

briefs would focus on the two disputed provisions.

         The first dispute concerns whether the Protective Order governs all material produced in

discovery or only confidential material produced by the parties and witnesses. Defendants believe

the scope of the protective order should apply to non-confidential material. Plaintiffs believe this

broad, over-inclusive provision would improperly restrict distribution of non-confidential material

that is not eligible for protection under Fed.R.Civ.P. 26 (c). This Court addressed this precise issue

in United States ex. rel. Franklin v. Parke-Davis, 210 F.R.D. 257 (D. Mass 2002) (“Franklin II”)

when it ruled it was improper to include such provisions in a protective order. The language at issue

in this dispute is found in Paragraph 5 of the Stipulated Protective Order.

         The second issue before the Court is whether a party may designate as confidential

documents which they knowingly distributed to third parties. Defendants seek the ability under the

protective order to designate such materials as confidential and the Plaintiffs’ Representatives

oppose. This issue was litigated in Franklin before Magistrate Cohen and Plaintiffs’ Representatives

seek to include language in the protective order similar to the language required by the Magistrate.1

The language set forth in proposed paragraph 3(c) of the Stipulated Protective Order concerns this

dispute.




         1
                  A copy of the Protective Order in Franklin, as originally entered by Magistrate Cohen, is attached
as Exhibit A. The Court modified the protective order in response to the Relator’s appeal from the Magistrate’s
Order in its February 6, 2002 Discovery Order, a copy of which is attached as Exhibit B. The Court modified the
Protective Order a second time in response to an intervention request by The New York Times Company and the
National Broadcasting Company. That order is contained within Franklin II, 210 F.R.D at 261.

                                                          2
          Case 1:04-cv-10981-PBS Document 19 Filed 01/04/05 Page 3 of 9




                                            ARGUMENT

        A.      Defendants Have Failed To Demonstrate Why Dissemination Of Non-
                Confidential Materials Should Be Restricted

        Fed.R.Civ.P. 26(c)(7) expressly provides for protection of trade secrets and “other

confidential   research, development, or commercial information.”            The proposed Stipulated

Protective Order automatically provides this protection by providing special treatment for documents

and information that fall within this category, including substantial limitation of access. See

Stipulated Protective Order at ¶¶ 3, 6. However, Defendants also wish to restrict dissemination of

materials which are not trade secrets or otherwise eligible for protection of Rule 26(c)(7). Indeed,

they wish to restrict dissemination of every document they produce in discovery, no matter how

mundane or public. Further, the language Defendants wish to insert in paragraph 5 of the Stipulated

Protective Order is virtually identical to language the Court struck from the Protective Order in

Franklin II. The Court properly ruled that such language violated the parties’ First Amendment

rights. If the Court felt compelled as a matter of law and discretion to strike such language from an

existing protective order, it should not permit similar language to be included in the protective order

to be entered in this case.

        Defendants attempt to convince the Court that the language they request is “standard”, but

no authority from this Circuit so holds. Indeed, in Franklin II, this Court ruled that blanket protective

orders are not favored and recognized their potential to violate both the media and the plaintiffs’

First Amendment rights. 210 F.R.D. at 259. Given the potential for an over broad protective order

to impinge upon important constitutional rights, the Court ruled in Franklin II that the Defendants

bear the burden to establish good cause for the entry of such an order. Id. at 260. As in Franklin



                                                   3
          Case 1:04-cv-10981-PBS Document 19 Filed 01/04/05 Page 4 of 9




II, Defendants have failed to surmount this hurdle. They have merely parroted the rationale for an

over broad order which this Court rejected in the earlier action.

       Defendants summarily assert that prohibiting the receiving parties’ from asserting their

constitutional right to disseminate non-confidential material will speed production of documents

because the parties responding to discovery will not have to perform a careful review for

confidentiality purposes. The very same rationale was proffered in Franklin and rejected. The Court

noted that Defendants were represented by sophisticated counsel (the same counsel, indeed, who

represent Defendants in this action) who zealously protected Defendants’ confidential information.

There is no reason to believe such practices will cease in this case. Moreover, as in Franklin II,

Defendants have failed to identify any type of non-confidential responsive documents that would not

be produced if the Court fails to restrict disclosure of discovery materials.

       Defendants’ rationale for protection is merely a pretext to keep unflattering documents from

coming to light. The Court repeatedly observed such behavior in Franklin when Defendants

repeatedly stamped as confidential obsolete and dated materials whose disclosure could never have

any competitive impact. Many of those materials will be also be produced in this case. If the Court

found it unnecessary and disruptive to restrict such material in Franklin, there is no reason why the

same sorts of materials should be restricted here. Indeed, the Court found such an order would be

over inclusive in violation of the First Amendment in Franklin II, 210 F.R.D. at 261, and Defendants

have not presented any facts or legal argument to suggest why that holding would not apply here.

       Defendants attempt to distinguish Franklin II on the basis that it was a qui tam action and the

plaintiff in that action was acting on behalf of the United States. However, when the Court

acknowledged that the public interest favored a narrow protective order in Franklin II, it did not rely


                                                  4
            Case 1:04-cv-10981-PBS Document 19 Filed 01/04/05 Page 5 of 9




upon the plaintiff’s status as a relator. Instead, the Court noted that the public interest favored

“discussing alleged fraudulent practices.” 210 F.R.D. at 261. Here too, the plaintiffs’ allegations

concern alleged fraudulent conduct with as far reaching effect as the allegations in Franklin.

        The Court has before it class and individual actions which allege that Defendants’

misrepresentations caused thousands of consumers and numerous health insurers to pay for a drug

that was ineffective for numerous uses. Moreover, the Defendants’ admitted practice of marketing

Nuerontin for off-label uses is highly controversial and information about such practices is vital for

an intelligent policy debate about whether and when drug companies should provide information

about unapproved uses for their products. Indeed, given recent headlines concerning the FDA’s

limited ability to monitor safety and efficacy data once a drug has been approved and the effect of

drug company marketing on the overutilization of prescription medications2, the public interest

unquestionably favors the dissemination of non-confidential information on these important public

policy issues.

        It is important to note that unlike Franklin, in these cases many of the plaintiffs also have

confidential and sensitive business information that will likely have to be produced in this litigation.

The Third Party Payor plaintiffs, many of whom are sizable health insurance companies, have the

same concerns about disclosure of their confidential information as Defendants, but they have

recognized that the confidentiality provisions of the Stipulated Protective Order provide sufficient

protection to safeguard legitimate confidentiality concerns. The fact that plaintiffs who have the




        2
                See e.g. “M edicine Fueled by Marketing Intensified Trouble for Pain Pills”, The New York Times,
December 19, 2004, Section 1, Page 1; “F.D.A. Failing In Drug Safety, Official Asserts”, The New York Times,
November 19, 2004, Section A, Page 1.

                                                       5
             Case 1:04-cv-10981-PBS Document 19 Filed 01/04/05 Page 6 of 9




same competitive concerns as the Defendants support the narrower order proves that such an order

is a workable compromise for both the individual and corporate parties involved in this litigation.3

         B.       Documents and Information Knowingly Given To Third Parties Are Not
                  Confidential

         The parties in Franklin also disputed whether documents provided to third parties could be

designated “Confidential” under the provisions of the protective order in that case. This point was

argued before Magistrate Cohen who ruled in favor of narrowing the confidentiality provisions. He

added paragraph 2(b) to the Protective Order in that case, which stated:

                  A party may not designate as “Confidential” information contained in
                  documents that are already in the possession of a third party even if the
                  documents contain the party’s “Confidential” information.

The Defendants did not appeal from the Magistrate’s ruling. In any event, this Court confirmed that

section of the Magistrate’s order in its Discovery Order of February 6, 2002.4

         Defendants’ do not address why materials not deemed to be confidential in Franklin should

be found confidential here. Indeed, given the Court’s frustration with over-designation in the earlier

action, it makes no sense to add even more grounds for sealing documents. Moreover, the

suggestion by Defendants is easily prone to abuse. The Defendants’ proposed language does not

define what constitutes a “confidentiality agreement.” Oral agreements would literally qualify.



         3
                   Contrary to the intimations in Defendants’ memorandum in support of their motion, the Plaintiffs’
liaison counsel and all counsel to the proposed steering committees, class and non-class, support the narrower
protective order for which this memorandum argues. Defendants are mistaken when they contend that Greene &
Hoffman, the firm selected by the steering committees to negotiate the protective order, only represented their
individual client when they discussed the proposed order with counsel for Defendants. Greene and Hoffman
conferred with all proposed steering committee counsel during the discussions and the positions they took in the
negotiations had been approved by the committees and the liaison counsel.

         4
                  The Court affirmed all sections of the Magistrate’s order not otherwise modified by the Court. See
Exhibit B, ¶ 5.

                                                          6
         Case 1:04-cv-10981-PBS Document 19 Filed 01/04/05 Page 7 of 9




Unstated understandings between parties might also qualify. Indeed, a practice within the industry

not to disclose materials to third parties could be deemed to be a “confidentiality agreement” since

both parties understood there would be no additional disclosures. When faced with such diaphanous

agreements, any party challenging confidentiality will not be able to prove such an agreement does

not exist, even when disclosure of the information would have no competitive effect upon the party

claiming confidentiality.

       The Plaintiffs’ Representatives are willing to compromise on this point. They propose a

modification to the language found in ¶ 3(c) of the Stipulated Protective Order which would allow

confidential designation for material explicitly provided to third parties with a requirement of

confidential treatment. The compromise would protect the legitimate confidentiality expectations

of parties, while prohibiting wholesale confidential designation merely because one party assumed

the documents would be kept confidential. The compromise language proposed by the Plaintiffs’

Representatives follows, with the underlined language representing the compromise language

proposed by the Plaintiffs’ Representatives.

               A party may not designate as "Confidential" information contained in
               documents which are already in the possession of a third party even if the
               documents contain information which would otherwise constitute
               Confidential Information, unless such documents were provided to the third
               party (a) subject to the terms of a protective order entered by a court of
               competent jurisdiction; or (b) pursuant to a writting requiring the information
               to be maintained in a confidential manner.


       Plaintiff Representatives believes that the compromise language meets most of the concerns

of the Defendants.




                                                 7
         Case 1:04-cv-10981-PBS Document 19 Filed 01/04/05 Page 8 of 9




                                         CONCLUSION

       Wherefore, for the reasons set forth above, the Plaintiffs’ Representatives request the Court

to limit the provisions of the Protective Order to “Confidential Materials” as opposed to “Discovery

Materials,” and to include proposed paragraph 3(c) of the Stipulated Protective Order with the

compromise language proposed in Section B infra in the final version of the Court’s order.

                                                 By their attorneys,

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                                                 8
         Case 1:04-cv-10981-PBS Document 19 Filed 01/04/05 Page 9 of 9




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                                       9
